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                                UM TED STATES DISTRICT COURT
                                SO UTH ERN D ISTR ICT O F FLO R IDA

                                        CASE NO.17-CR-20914                         Heal.

      U M TED STAT ES O F AM ERICA

             V.                                                       FILED UN DER SEAL

      LAW R EN CE W .PA R K ER ,JR .,

                    D efendant.



                                        FA CTU AL PR O FFER

             Ifthismatterwereto proceed to trial,theUrlited Stateswouldprovethestated facts

      beyond areasonabledoubt.

             Beginning in orarotmdN ovember2005 and continuingtmtilatleastin orarotmd M arch

      2015,LAW RENCE W .PARKER,JR.,aUnited Statescitizen residing in Flodda,conspired

      with othersto pay htmdredsofthousandsofdollàrsin bribes,directly and indirectly,to aforeign

      official(çtForeigrlOfficialA'')employedby ServiciodiTelecommllnicacion diArubaN.V.
      (:çSetar''),astate-ownedandstate-controlledtelecommllnicationscompany inArubathat
      perform ed afLmction oftheAruban governm ent.LAW RENCE W .PARKER,JR.and hiscou

      conspiratorsagreedto pay bribesto Foreign OfficialA in orderto securean improperadvantage

      and in exchange forForeign OfficialA using llisposition and authority as Setar'sProduct

      M anagerto assista num berofU .S.com pnnies owned,in w hole or in part,or otherwise

      controlled by,oraffiliated with LAW RENCE W .PARKER,JR.and hisco-conspiratorswith

      obtahlingbusinesswith Setar.LAW RENCE W .PARK ER,JR.,Foreign OfficialA,and others

      also agreed to obtainm oney andproperty,including Setar'sconfidentialbusinessinform ation,
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  by m eansoffalse and fraudulentpretensesand representations,includingby M ding thenm otmt

  ofthebribepaymentsin invoicessentviaem ailto Setar.

         Specifically,from in oraroundNovem ber2005 and continuing through in oraround

  M arch 2015,LAW REN CE W .PARK ER,JR.and llisco-conspiratorsagreed topay,and paid,

  bribesto Foreign Oo cialA totalingm orethan $705,000.In exchangeforthebribes,Foreign
  OfficialA assisted LAW RENCE W .PARK ER JR.and otherswith obtainingbusinessfor

  LAW RENCE W .PARKER JR.,PhoneCompany#1,PhoneCompany #2,PhoneCompany #3,

  PhoqeCompany #4,Phone Com pany #5,al1com pe esorgarlized tmderthelawsoftheSGte of

  Floridaaand others.

         Theschem eworked asfollows:Foreign OflkialA,on behalfofSetar,requested price

  quotations on certain m obile phones and accessories9om LA W R EN CE W .PA R K ER ,JR .mld

  others. In addition,on occasion,Foreign OfficialA ,withouttheknowledge of,orapproval

  f'
   rom,llisemployerSetar,providedLAG        NPE W .PARKER,JR.andhisco-conspirators
  with proprietary,confdentialbusinessinfonnationviaem ail.Afterreceiving pricequotations

  f'
   rom compnniesaffiliated with LAG     NCE W .PARKER,JR.,includingPhone Company

  #1,PhoneCompany #2,PhoneCompany #3,Phone Company #4,Phone Company //5,'and
                        .




  others,Foreign Ox cialA used hisposition and authority as.Setar'sProductM anagerto assist

  LAW RENCE W .PARK ER,JR.,PhoneCompany #1,PhèneCompany #2,PhoneCompany

  #3,PhoneCompany #4,PhoneCom pany #5,and others,with obtaining business9om Setar.

  Foreign OfficialA did notinform Setarthathe was accepting bribe paym entsfrom

  LAW RENCE W .PARK ER ,JR.and othersin cozm ection with thesesales.A saresultofthe

  scheme,betweeninoraroundNovember2003 andinoraroundMarch2015,LAW RENCE W .
  PARK ER,JR.,Foreign OfficialA,and otherscaused Setarto wirem orethan $23.8million
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  âom bnnk accountsin ArubatotheUnited States-based bank accotmtsofPhone Com pany #1,

  Phone Company #2,PhoneCompany #3,Phone Com pany #4,PhoneCom pany #5,and others.

         Between in orarotmdNovem ber2005and in orarotm dM arch 2015,LAW RENCE W .

  PARKER,JR.andhisco-conspiratorspaid Foreign Oftk ialA approxim ately $705,000.Ofthis

  total,approximately $288,970 waswired 9om bank accotmtsin the Southem DistrictofFlodda
  toa foreign bank accountowned and controlled by Foreign OftkialA .Forexnmple,on orabout

  January 9,2012,LAW REN CE W .PARK ER,JR.,wllilein the Southern DistrictofFlorida,

  causedPhone Company //3to wireapproximately $32,500 from Phone Company #3'sbnnk
  accountin theUnited Statesto an overseasbnmk accotmtom led and controlledby Foreign

  O fficialA .

         Additionalpayl entswerem adein cash to Foreign OfficialA and to hisformerspouse

  dllring m eetingsin M iam i,Floridaand in Aruba.Forexnm ple,on oraboutJuly 10,2014,

  LAW RENCE W .PARKER ,JR.caused acheck tobedrafted 9om theFlorida-based account

  ofPhoneCompany //4 in the amotmtofapproxim ately $5,200 and m adepayableto
  LAW RENCE W .PARKER ,JR.,which am ountLAW RENCE W .PARKER,JR.later

  caused tobeprovidedto Foreign OfficialA in cash in the Southem DistrictofFlorida.

         ln addition,in orarotmd December2013,LAW RENCE W .PARKER,JR.provided to

  Foreign Oftk ialA,dlzring @.m eeting in the Southern DistrictofFlorida,a debitcard linked to a

  United Statesbnnk accotmt. Foreign OfficialA retum edto Arubawith thedebitcard and used it

  to w ithdraw cash derived from the bribery and gaud schem e. Betw een approxim ately D ecem ber

  2013 and October2014,Foreign OfficialA received approximately $19,745 in thism nnner.
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            LAW RENCE W .PARK ER,JR.knew thatagreeingtopay,andpaying,bribestoForeign

      OflicialA ,receiving Setar's confidentialbusiness inform ation from Foreign Offk ial A,and

      concealing thebribepaymentsfrom Setarwaswrong and llnlawful.



                                                       SAN D M M OSER
                                                       ACTING CHIEF,FRAUD SECTION
                                                       Crim inalDivision
                                                       U .S.D epartm entofJustice


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                                                       LA W         W .PARK ER,JR.
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